                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT CHATTANOOGA

 UNITED STATES OF AMERICA                           )
                                                    )       Case No. 1:06-cr-69
 vs.                                                )
                                                    )       JUDGE COLLIER
 LEONTIA JASON BLACKMON                             )



                                MEMORANDUM AND ORDER

        The defendant appeared for a hearing before the undersigned on November 2 2012, in
 accordance with Rule 32.1 of the Federal Rules of Criminal Procedure on the Petition for
 Warrant for Offender Under Supervision (Petition) of U.S. Probation Officer Donna Rankin and
 the Warrant for Arrest issued by U.S. District Judge Curtis L. Collier. Those present for the
 hearing included:

               (1) AUSA Scott Winne for the USA.
               (2) Defendant LEONTIA JASON BLACKMON.
               (3) Attorney Leslie Cory for defendant.
               (4) Supervising U.S. Probation Officer Beth Miller.
               (5) Deputy Clerk Barbara Lewis.

         After being sworn in due form of law the defendant was informed or reminded of his
 privilege against self-incrimination accorded him under the 5th Amendment to the United States
 Constitution.

         It was determined the defendant had been provided with a copy of the Petition and the
 Warrant for Arrest and had the opportunity of reviewing those documents with his attorney. It
 was also determined the defendant was capable of being able to read and understand the copy of
 the aforesaid documents he had been provided.

        Defendant waived his right to a preliminary hearing but requested a detention hearing.

        AUSA Winne moved defendant be detained pending a hearing to determine whether his
 term of supervision should be revoked.

                                            Findings

        (1) Based upon U.S. Probation Officer Donna Rankin=s petition and defendant=s
        waiver of preliminary hearing, and the testimony of Supervising U.S. Probation
        Officer Beth Miller at the detention hearing, the undersigned finds there is

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Case 1:06-cr-00069-TRM-SKL          Document 362 Filed 11/05/12           Page 1 of 2      PageID
                                          #: 1126
       probable cause to believe defendant has committed violations of his conditions of
       supervised release as alleged in the petition.

       (2) The defendant has not carried his burden under Rule 32.1(a)(6) of the Federal
       Rules of Criminal Procedure, that if released on bail he will not flee or will not pose
       a danger to the community.

                                           Conclusions

       It is ORDERED:

       (1) The motion of AUSA Winne that the defendant be DETAINED WITHOUT
       BAIL pending the revocation hearing before U.S. District Judge Curtis L. Collier is
       GRANTED.

       (2) The U.S. Marshal shall transport defendant to a revocation hearing before
       Judge Collier on Thursday, November 29, 2012, at 9:00 am.

       ENTER.

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                                              UNITED STATES MAGISTRATE JUDGE




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Case 1:06-cr-00069-TRM-SKL          Document 362 Filed 11/05/12              Page 2 of 2         PageID
                                          #: 1127
